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                               UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


   IN RE: FACEBOOK, INC.                            MDL No. 2843
   CONSUMER PRIVACY USER
                                                    Case No. 18-md-02843-VC
   PROFILE LITIGATION

                                                    ORDER GRANTING MOTION TO
                                                    WITHDRAW PLAINTIFF SAMUEL
   This document relates to:                        ARMSTRONG AND DISMISS HIS
   All Actions                                      CLAIMS WITHOUT PREJUDICE
                                                    Re: Dkt. No. 822


       The motion to withdraw Samuel Armstrong as a party to this litigation and dismiss his

claims without prejudice is granted for the reasons stated in the motion.



       IT IS SO ORDERED.

Dated: February 28, 2022
                                             ______________________________________
                                             VINCE CHHABRIA
                                             United States District Judge
